          United States Court of Appeals
                     For the First Circuit


No. 23-1018

   MÓNICA PÉREZ-PÉREZ, personally and in representation of her
 minor son AMCP; JOSÉ MANUEL CARABALLO-NEGRÓN, personally and in
           representation of his minor son AMCP; AMCP,

                     Plaintiffs, Appellants,

                               v.

HOSPITAL EPISCOPAL SAN LUCAS, INC., d/b/a Hospital Episcopal San
    Lucas-Ponce; DR. MARYROSE CONCEPCIÓN-GIRÓN; BEAZLEY USA
   SERVICES, INC., d/b/a Beazley Group; RICHARD DOE; CONJUGAL
      PARTNERSHIP CONCEPCIÓN-DOE; A, B AND C CORPORATIONS;
            UNKNOWN INSURANCE COMPANIES A THROUGH C,

                     Defendants, Appellees,

              JOHN DOE 1; JOHN DOE 2; JOHN DOE 3,

                           Defendants.


                          ERRATA SHEET

    The opinion of this Court issued on August 13, 2024 is amended

as follows:

    On page 14, line 18, "snuggly" is replaced with "snugly".
